  Case 15-41922        Doc 31   Filed 06/09/21 Entered 06/09/21 07:39:08                   Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

In re:      BEAR RIVER INTERNATIONAL, LLC                        &DVH1R15-41922
                                                                 
                                                                 
Debtor(s)                                                        


           CHAPTER 7 TRUSTEE¶S FINAL ACCOUNT AND DISTRIBUTION
    REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

       Michelle H. Chow, chapter 7 trustee, submits this Final Account, Certification that the Estate has
been Fully Administered and Application to be Discharged.

          $OOIXQGVRQKDQGKDYHEHHQGLVWULEXWHGLQDFFRUGDQFHZLWKWKH7UXVWHH¶s Final Report and, if
DSSOLFDEOHDQ\RUGHURIWKH&RXUWPRGLI\LQJWKH)LQDO5HSRUW7KHFDVHLVIXOO\DGPLQLVWHUHGDQGDOO
assets and funds which have come under the trustee¶s control in this case have been properly accounted
IRUDVSURYLGHGE\ODZ7KHWUXVWHHKHUHE\UHTXHVWVWREHGLVFKDUJHGIURPIXUWKHUGXWLHVDVDWUXVWHH

         $VXPPDU\RIDVVHWVDEDQGRQHGDVVHWVH[HPSWWRWDOGLVWULEXWLRQVWRFODLPDQWVFODLPV
discharged without payment, and expenses of administration is provided below:




 Assets Abandoned: $0.00                                      Assets Exempt:       N/A
 (without deducting any secured claims)

 Total Distribution to Claimants:     $718,331.15             Claims Discharged
                                                              Without Payment: N/A

 Total Expenses of Administration: $674,993.93


          7RWDOJURVVUHFHLSWVRI$1,393,325.08 (see Exhibit 1), minus funds paid to the debtor and
third parties of $0.00 (see Exhibit 2), yielded net receipts of $1,393,325.08 from liquidation of the
property of the estate, which was distributed as follows:




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                                            CLAIMS            CLAIMS           CLAIMS           CLAIMS
                                          SCHEDULED          ASSERTED         ALLOWED            PAID

SECURED CLAIMS
(from Exhibit 3)                                      0.00             0.00             0.00             0.00

PRIORITY CLAIMS
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4)                                  0.00       674,993.93      674,993.93       674,993.93
    PRIOR CHAPTER
    ADMIN. FEES AND
    CHARGES (from Exhibit 5)                          0.00             0.00             0.00             0.00
    PRIORITY UNSECURED
    CLAIMS (from Exhibit 6)                           0.00         9,967.71         9,967.71         9,967.71
GENERAL UNSECURED
CLAIMS (from Exhibit 7)                       1,953,157.16    11,528,131.66      926,964.10       708,363.44

TOTAL DISBURSEMENTS                          $1,953,157.16   $12,213,093.30    $1,611,925.74    $1,393,325.08



        7KLVFDVHZDVRULJLQDOO\ILOHGXQGHU&KDSWHU7 on 10/30/2015.
The case was pending for 67 months.

         $OOHVWDWHEDQNVWDWHPHQWVGHSRVLWVOLSVDQGFDQFHOHGFKHFNVKDYHEHHQVXEPLWWHGWRWKH
United States Trustee.

          $QLQGLYLGXDOHVWDWHSURSHUW\UHFRUGDQGUHSRUWVKRZLQJWKHILQDODFFRXQWLQJRIWKHDVVHWVRI
the estate is attached as Exhibit 87KHFDVKUHFHLSWVDQGGLVEXUVHPHQWVUHFRUGVIRUHDFKHVWDWHEDQN
account, showing the final accounting of the receipts and disbursements of estate funds is attached as
Exhibit 9.

         Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.


Dated: 05/14/2021                    By: /s/ Michelle H. Chow
                                                          Chapter 7 Bankruptcy Trustee




STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
$FWH[HPSWLRQ&)5 D  DSSOLHV




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                                                              EXHIBITS TO
                                                            FINAL ACCOUNT


EXHIBIT 1 - GROSS RECEIPTS

                                                                                                  UNIFORM                         $ AMOUNT
DESCRIPTION
                                                                                                 TRAN. CODEï                      RECEIVED
CONTINGENT CLAIMS - D&O/EPL Policy                                                                    1149-000                     1,243,125.00

TAX REFUND                                                                                            1224-000                      150,200.08

TOTAL GROSS RECEIPTS                                                                                                              $1,393,325.08

ï The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 - FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                  UNIFORM                         $ AMOUNT
PAYEE                                   DESCRIPTION
                                                                                                 TRANS. CODE                         PAID
                                                                       None

TOTAL FUNDS PAID TO DEBTOR & THIRD PARTIES


EXHIBIT 3 - SECURED CLAIMS

                                                       UNIFORM    CLAIMS
  CLAIM                                                                                      CLAIMS                 CLAIMS        CLAIMS
                          CLAIMANT                      TRAN.  SCHEDULED
   NO.                                                                                      ASSERTED               ALLOWED         PAID
                                                        CODE   (from Form 6D)

                                                                       None

TOTAL SECURED CLAIMS                                                                 N/A


EXHIBIT 4 - CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                                       UNIFORM
                                                                 CLAIMS                      CLAIMS                 CLAIMS        CLAIMS
                      PAYEE                             TRAN.
                                                               SCHEDULED                    ASSERTED               ALLOWED         PAID
                                                        CODE
Michelle H. Chow                                         2100-000              N/A                65,049.75           65,049.75      65,049.75

Michelle H. Chow                                         2200-000              N/A                    357.38            357.38          357.38

PASSMAN & JONES, P.C.                                    3210-600              N/A               497,250.00          497,250.00     497,250.00

PASSMAN & JONES, P.C.                                    3220-610              N/A                  6,384.15           6,384.15        6,384.15

Lain, Faulkner & Co. P.C.                                3410-000              N/A                19,538.50           19,538.50      19,538.50

LITZLER, SEGNER, SHAW & MCKENNEY,                        3410-580              N/A                28,467.56           28,467.56      28,467.56
LLP
Lain, Faulkner & Co. P.C.                                3420-000              N/A                    224.92            224.92          224.92

GEORGE ADAMS AND CO. INSURANCE                           2300-000              N/A                  4,515.00           4,515.00        4,515.00
AGENCY, LLC
WELLS FARGO CAPITAL FINANCE                              2410-000              N/A                  1,300.00           1,300.00        1,300.00

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Bank and Technology Fees                              2600-000           N/A                  8,426.09        8,426.09       8,426.09

Mark Agee                                             3110-000           N/A                 42,780.96       42,780.96      42,780.96

Mark Agee                                             3120-000           N/A                    699.62         699.62         699.62

TOTAL CHAPTER 7 ADMIN. FEES and CHARGES                                  N/A              $674,993.93      $674,993.93    $674,993.93


EXHIBIT 5 - PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                                     UNIFORM
                                                               CLAIMS                   CLAIMS            CLAIMS         CLAIMS
                    PAYEE                             TRAN.
                                                             SCHEDULED                 ASSERTED          ALLOWED          PAID
                                                      CODE
                                                                 None

TOTAL PRIOR CHAPTER ADMIN. FEES and CHARGES


EXHIBIT 6 - PRIORITY UNSECURED CLAIMS

                                                     UNIFORM    CLAIMS                  CLAIMS
 CLAIM                                                                                 ASSERTED           CLAIMS         CLAIMS
                        CLAIMANT                      TRAN.  SCHEDULED
  NO.                                                                                 (from Proofs of    ALLOWED          PAID
                                                      CODE   (from Form 6E)
                                                                                          Claim)
    4A       Arkansas Dept of Finance                 5800-000                 0.00           4,524.85        4,524.85       4,524.85

   12A       Texas Comptroller of Public Accounts     5800-000                 0.00           5,442.86        5,442.86       5,442.86
             c/o Office of the Attor
TOTAL PRIORITY UNSECURED CLAIMS                                              $0.00           $9,967.71       $9,967.71      $9,967.71


EXHIBIT 7 - GENERAL UNSECURED CLAIMS

                                                     UNIFORM    CLAIMS                  CLAIMS
 CLAIM                                                                                 ASSERTED           CLAIMS         CLAIMS
                        CLAIMANT                      TRAN.  SCHEDULED
  NO.                                                                                 (from Proofs of    ALLOWED          PAID
                                                      CODE   (from Form 6F)
                                                                                          Claim)
     1       China Golden Zhejiang Royal              7100-000          320,718.38          345,048.38      345,048.38     263,677.59

1 correction China Golden International Co., Ltd.     7100-000                 N/A                0.00            0.00           0.00

     2       Bruce and Kristy Heckendorn              7100-000                 0.00               0.00            0.00           0.00

     3       Walmart Stores Inc.                      7100-000                 0.00          25,128.16       25,128.16      19,202.33

    4B       Arkansas Dept of Finance                 7100-000                 0.00          13,950.48       13,950.48      10,660.62

     5       Uline Shipping Supplies                  7100-000             208.52               208.52         208.52         159.35

     6       Fedex Techconnect Inc.                   7100-000                 0.00           7,762.86        7,762.86       5,932.19

     7       Up to Par Technology                     7100-000           15,273.70           15,249.95       15,249.95      11,653.64

     8       Eagle Fund ii LP                         7100-000                 0.00       4,508,470.00            0.00           0.00

     9       Petra Growth Fund LP                     7100-000                 0.00       3,937,795.00            0.00           0.00

    10       Shanghai Glyn Inc.                       7100-000           32,419.45           95,817.60       95,817.60      73,221.48

    11       Shenzhen CE & IT Limited John T.         7100-000            4,000.00        2,154,902.56            0.00           0.00
             Palter
   12B       Texas Comptroller of Public Accounts     7100-000                 0.00             484.42         484.42         370.18

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    13      Kien Well Toy Industrial Co LTD     7100-000     275,461.20   423,313.73     423,313.73    323,486.06

    14      Bear River Holdings LLC             7100-000           0.00         0.00           0.00          0.00

NOTFILED Avery Dennison                         7100-000        111.35          0.00           0.00          0.00

NOTFILED Bear Grylls Ventures                   7100-000     208,148.94         0.00           0.00          0.00

NOTFILED Bold Well Industrial Ltd               7100-000      97,108.74         0.00           0.00          0.00

NOTFILED Colonial Life                          7100-000       2,220.86         0.00           0.00          0.00

NOTFILED Darko, Inc.                            7100-000      43,864.00         0.00           0.00          0.00

NOTFILED England Logistics                      7100-000        544.00          0.00           0.00          0.00

NOTFILED Estes Express Lines                    7100-000        249.59          0.00           0.00          0.00

NOTFILED Fairland Toy Electronic Co. Ltd.       7100-000     183,171.08         0.00           0.00          0.00

NOTFILED First Choice Services                  7100-000        513.20          0.00           0.00          0.00

NOTFILED Gakkiku Design Company                 7100-000       3,483.87         0.00           0.00          0.00

NOTFILED Global Trade Logistics                 7100-000       1,697.00         0.00           0.00          0.00

NOTFILED IMG Worldwide INC                      7100-000      37,668.55         0.00           0.00          0.00

NOTFILED Incomm Product Control                 7100-000       2,727.65         0.00           0.00          0.00

NOTFILED IndCor Properties                      7100-000        786.40          0.00           0.00          0.00

NOTFILED Northern Group                         7100-000        993.04          0.00           0.00          0.00

NOTFILED Oceanland Service INC                  7100-000          61.68         0.00           0.00          0.00

NOTFILED Omni Tech Trans, LLC                   7100-000        200.00          0.00           0.00          0.00

NOTFILED Osky Blue                              7100-000       5,330.00         0.00           0.00          0.00

NOTFILED Panda Logistics                        7100-000      24,164.66         0.00           0.00          0.00

NOTFILED Phoenix Copy                           7100-000        797.81          0.00           0.00          0.00

NOTFILED Premier Computing                      7100-000        574.05          0.00           0.00          0.00

NOTFILED Quill.com                              7100-000        281.30          0.00           0.00          0.00

NOTFILED Siras                                  7100-000      11,865.75         0.00           0.00          0.00

NOTFILED SPP Company Limited                    7100-000       8,049.48         0.00           0.00          0.00

NOTFILED SPS Commerce, Inc                      7100-000       2,750.00         0.00           0.00          0.00

NOTFILED Star Rainbow Co., Ltd                  7100-000     249,865.60         0.00           0.00          0.00

NOTFILED State of New Jersey Dept. of Labor     7100-000        673.29          0.00           0.00          0.00

NOTFILED Tat Kei Wah Sing Electronic            7100-000      50,940.00         0.00           0.00          0.00

NOTFILED Three Sixty Sales                      7100-000       4,428.15         0.00           0.00          0.00

NOTFILED TOY2UMANUFACTORY                       7100-000      17,436.62         0.00           0.00          0.00
         COMPANY L7D
NOTFILED Unicorn Hobby Corporation              7100-000     107,152.50         0.00           0.00          0.00

NOTFILED UPS                                    7100-000       1,027.93         0.00           0.00          0.00

NOTFILED UPS                                    7100-000       1,038.59         0.00           0.00          0.00

NOTFILED UPS Supply Chain Solutions             7100-000        184.39          0.00           0.00          0.00


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NOTFILED Win Gun Technology Co., Ltd     7100-000     197,848.00              0.00          0.00          0.00

NOTFILED Yue Tat (HK) Development        7100-000      37,117.84              0.00          0.00          0.00
         Company/WG
TOTAL GENERAL UNSECURED CLAIMS                      $1,953,157.16   $11,528,131.66   $926,964.10   $708,363.44




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                                                                                       FORM 1                                                                                                           Page: 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                    ASSET CASES
Case Number:          15-41922 BR                                                                                     Trustee:                          Michelle H. Chow
Case Name:            BEAR RIVER INTERNATIONAL, LLC                                                                   Filed (f) or Converted (c):       10/30/15 (f)
                                                                                                                       D 0HHWLQJ'DWH             12/04/15
Period Ending: 05/14/21                                                                                               Claims Bar Date:                  07/05/16

                                          1                                            2                             3                           4                        5                         6
                                                                                                            Estimated Net Value                                                                Asset Fully
                                                                                   Petition/           (Value Determined By Trustee,         Property                Sale/Funds             Administered (FA)/
                                  Asset Description                              Unscheduled              Less Liens, Exemptions,          Abandoned                 Received by             Gross Value of
 Ref #                 (Scheduled And Unscheduled (u) Property)                     Values                    and Other Costs)          2$  D $EDQGRQ            the Estate            Remaining Assets

  1      CONTINGENT CLAIMS - D&O/EPL Policy                                                     0.00                      500,000.00                                     1,243,125.00              FA
         NOTE: This is the only scheduled asset on the original
         schedules. No amended AB filed as of 03/31/16.;Per Debtor's
         schedules; '$3,000,000 shared D&O/EPL policy with AIG with
         six year run-off limit in force through 08/06/21.' Trustee intends
         to pursue any claim on insurance. 18. This remains the sole
         scheduled assets from the original schedules. No amendments
         to schedules as of 03/31/2019. Funds collected 08/13/18 and
         fully administered. See Motion 06/13/18 #94 and Order
         08/10/18 #116.
  2      TAX REFUND (u)                                                                         0.00                      150,000.00                                       150,200.08              FA
         Unscheduled and unexpected refund from the US Treasury for
         Bear River.
  3      FRAUDULENT TRANSFER (SOFA EXHIBITS)                                                    0.00                             0.00                                              0.00            FA
         This line item reserved for possible fraudulent transfers from
         transactions listed on the SOFA. Proposed special counsel to
         investigated and accountant for estate assisted with records
         analysis for this line item. No collection for this line item, all
         under asset #1.
TOTALS (Excluding Unknown Values)                                                              $0.00                    $650,000.00                                     $1,393,325.08                      $0.00
Major activities affecting case closing:
As of date submitted to UST for review: 10/29/2020: All case administration completed, IRS confirmed no further audit issues, claims reviewed/objections granted, and estate professionals' final fee
applications granted. Ready for TFR.

Prior reporting periods:
As of 03/31/2020 reporting period: Additional claims activity between general counsel and selected creditors, and tax filings prepared by estate accountant. On 08/26/19, Trustee received notice from the
IRS that the 4 cases were selected for audit. Documents requested and produced. Trustee and accountant Lain Faulkner responding to requests but do not have much indication of when they will be
complete with their review. Trustee can only provide a very rough estimate and can only close this case subject to the IRS's timing. This is the remaining activity in this case before final professionals'
fee applications.

From 04/01/18-03/31/2019: Causes of action against various parties was resolved, and settlement reached. Trustee and her counsels mediated and deliberated many hours to reach this settlement. See
Motion 06/13/2018 #94 and the Order 08/10/2018 #116 for settlement of $3.85 million, the determination of proceeds split between the 4 related cases, and also the Trustee's counsels' fee applications
and Orders within the same time period. The funds deposited to each respective bankruptcy case and awaiting the final tax returns and final professionals' fee applications before the final report. Claims
were reviewed and objections granted in 08/2018 through 11/2018.

From 04/01/17-03/31/18: The main activity during the reporting period was multiple mediation meetings and attempt at settlement between multiple parties and insurance. Towards the end of this
reporting period, the amount of $3.85 million was introduced, but terms were not acceptable to the Trustee. The main issues besides the amount of settlement were allocation between the 4 related
estates and the individual claims of filed by the Defendants. Trustee is very hopeful that a compromise will be reached and a settlement motion outlining all the terms will be filed in the next reporting
period.
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                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES
Periods prior to 03/31/17: Requests were made for documents/document production and review/motions for 2004 exam against parties related to Debtors. Trustee's counsels identified these parties as
having liquidity and/or coverage by the D&O policies which could ultimately net funds for the bankruptcy estate. These were the 'owners' and 'foreclosers' on the business entities: 1. PEAG LLC; 2.TCP
Group (Transition Capitial Partners); 3.Petra Growth Fund; 4. Wells Fargo.

Many times have the trustee and counsel met and/or conferenced called to discuss case progress and strategy. Special counsel may add additional professionals to assist with document and financial
statement review/data mining, which is not included under Lain Faulkner as tax accountants for the estate. Documents produced by TCP, but incomplete fro PEAG LLC. Wells Fargo lags a bit behind in
documents requested/produced.

Case background: This is part of 4 related Chapter 7 cases which have been administratively consolidated:
15-41922 Bear River International, LLC - sold guns and sporting equipment
15-41920 JLab, LLC - sold headphones and audio products
15-41918 Mach Speed Holdings, LLC - holding company for all three
15-41919 Mach Speed Technologies, LLC - sold MP3 type digital media players

These four related companies had the same officers/directors and appear to have possibly used the same books and records. Mach Speed Holdings, LLC was the holding/parent company of the other
three. It was formed by various 'investor-type entities' - Transition Capital Partners (a Dallas based private equity firm), Petra Capital Partners, and Bush O'Donnell Capital Partners. The 'lenders'
basically took back their business, and this along with other directed payments are the potential remaining assets of the business. Trustee hired special counsel/special litigators who will determine best
course of action. Trustee also hired general counsel and accountants for the estate (for tax returns). Assets collected to date include state taxing authority refunds, miscellaneous refunds, and Wells
Fargo bank balances.

General Counsel for Trustee: Mark Agee
Accountant for Trustee: Lain Faulkner
Debtor Counsel: Joe Marshall; Marshall Law; 5001 Spring Valley Road, Suite 400E; Dallas, TX 75244-3910 (972)-393-3900; jmarshall@marshalllaw.net
Debtor's Principal: Keith Driscoll
Special Counsel for Trustee: Chris Robison; Passman & Jones, 2500 Renaissance Tower; 1201 Elm Street; Dallas, TX 75270 and Sommerman, McCaffity & Quesada, LLP
Interested Party: Peter Jackson, represents Dan Lane

Initial Projected Date of Final Report (TFR): December 31, 2020                                         Current Projected Date of Final Report (TFR): October 29, 2020 (Actual)

                 May 14, 2021                                                                                             /s/ Michelle H. Chow
                    Date                                                                                                  Michelle H. Chow
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                                                      Cash Receipts and Disbursements Record
Case Number:          15-41922 BR                                                                Trustee:                Michelle H. Chow
Case Name:            BEAR RIVER INTERNATIONAL, LLC                                              Bank Name:              Bank of Kansas City
                                                                                                 Account:                ******1498 - Checking Account
Taxpayer ID#:         **-***3668                                                                 Blanket Bond:           N/A
Period Ending:        05/14/21                                                                   Separate Bond:          810,000.00

   1             2                    3                                         4                                                 5                  6                   7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $            Account Balance

01/27/16   Asset #2   United States Treasury             Refund from the IRS                                1224-000            150,200.08                             150,200.08

01/29/16              Bank and Technology Fees           BANK SERVICE FEE                                   2600-000                                      21.54        150,178.54

02/29/16              Bank and Technology Fees           BANK SERVICE FEE                                   2600-000                                     208.23        149,970.31

03/31/16              Bank and Technology Fees           BANK SERVICE FEE                                   2600-000                                     222.29        149,748.02

04/29/16              Bank and Technology Fees           BANK SERVICE FEE                                   2600-000                                     214.80        149,533.22

05/31/16              Bank and Technology Fees           BANK SERVICE FEE                                   2600-000                                     221.64        149,311.58

07/14/16              Bank and Technology Fees           TRANSFER OF FUNDS                                  9999-000                               149,097.41                214.17

07/14/16              Bank and Technology Fees           BANK SERVICE FEE                                   2600-000                                     214.17                0.00


                                                                               ACCOUNT TOTALS                                   150,200.08         150,200.08                 $0.00
                                                                                  Less: Bank Transfers                                0.00         149,097.41

                                                                               Subtotal                                         150,200.08           1,102.67
                                                                                  Less: Payment to Debtors                                               0.00

                                                                               NET Receipts / Disbursements                    $150,200.08          $1,102.67
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                                                      Cash Receipts and Disbursements Record
Case Number:          15-41922 BR                                                               Trustee:                Michelle H. Chow
Case Name:            BEAR RIVER INTERNATIONAL, LLC                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******4578 - Checking Account
Taxpayer ID#:         **-***3668                                                                Blanket Bond:           N/A
Period Ending:        05/14/21                                                                  Separate Bond:          810,000.00

   1             2                    3                                        4                                                 5                 6                    7

 Trans.    Check or                                                                                         Uniform           Receipts       Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                 $             Account Balance

07/14/16              BANK OF KANSAS CITY                TRANSFER OF FUNDS                                 9999-000            149,097.41                             149,097.41

08/03/16              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     120.96        148,976.45

09/06/16              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     208.17        148,768.28

10/03/16              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     207.92        148,560.36

11/03/16              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     207.60        148,352.76

12/05/16              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     207.31        148,145.45

01/03/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     207.04        147,938.41

02/03/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     206.73        147,731.68

03/03/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     206.44        147,525.24

04/03/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     206.15        147,319.09

05/03/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     205.86        147,113.23

06/05/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     205.57        146,907.66

07/03/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     205.31        146,702.35

08/03/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     205.00        146,497.35

09/05/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                  2600-000                                     204.71        146,292.64
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                                                      Cash Receipts and Disbursements Record
Case Number:          15-41922 BR                                                                Trustee:                Michelle H. Chow
Case Name:            BEAR RIVER INTERNATIONAL, LLC                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******4578 - Checking Account
Taxpayer ID#:         **-***3668                                                                 Blanket Bond:           N/A
Period Ending:        05/14/21                                                                   Separate Bond:          810,000.00

   1             2                    3                                         4                                                 5                 6                    7

 Trans.    Check or                                                                                          Uniform           Receipts       Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                 $             Account Balance

10/04/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                   2600-000                                     204.45        146,088.19

11/03/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                   2600-000                                     204.15        145,884.04

12/04/17              Bank and Technology Fees           %DQN6HUYLFH)HH                                   2600-000                                     203.86        145,680.18

01/03/18              Bank and Technology Fees           %DQN6HUYLFH)HH                                   2600-000                                     203.58        145,476.60

02/05/18              Bank and Technology Fees           %DQN6HUYLFH)HH                                   2600-000                                     203.29        145,273.31

03/05/18              Bank and Technology Fees           %DQN6HUYLFH)HH                                   2600-000                                     203.03        145,070.28

04/03/18              Bank and Technology Fees           %DQN6HUYLFH)HH                                   2600-000                                     202.74        144,867.54

05/03/18              Bank and Technology Fees           Bank Service Fee                                   2600-000                                     202.44        144,665.10

06/04/18              Bank and Technology Fees           Bank Service Fee                                   2600-000                                     202.15        144,462.95

07/03/18              Bank and Technology Fees           Bank Service Fee                                   2600-000                                     201.88        144,261.07

08/03/18              Bank and Technology Fees           Bank Service Fee                                   2600-000                                     201.59        144,059.48

08/13/18   Asset #1   Settlement Proceeds Wire-In        Per Settlement Agreement                           1149-000           1,243,125.00                          1,387,184.48

08/21/18     101      GEORGE ADAMS AND CO.               Per invoice 3619Bond SNN4010004                    2300-000                                2,085.00         1,385,099.48
                      INSURANCE AGENCY, LLC
08/27/18     102      MARK I AGEE                        Per Order 08/10/18 #115Trustee general             3110-000                               31,572.60         1,353,526.88
                                                         counsel fees
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                                                      Cash Receipts and Disbursements Record
Case Number:          15-41922 BR                                                                Trustee:                Michelle H. Chow
Case Name:            BEAR RIVER INTERNATIONAL, LLC                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******4578 - Checking Account
Taxpayer ID#:         **-***3668                                                                 Blanket Bond:           N/A
Period Ending:        05/14/21                                                                   Separate Bond:          810,000.00

   1             2                    3                                         4                                                 5                 6                    7

 Trans.    Check or                                                                                          Uniform           Receipts       Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                 $             Account Balance

08/27/18     103      MARK I AGEE                        Per Order 08/10/18 #115Trustee general             3120-000                                     386.17      1,353,140.71
                                                         counsel expenses

08/27/18     104      Lain, Faulkner & Co. P.C.          Per Order 08/10/18 #119Trustee accountant          3410-000                               16,290.50         1,336,850.21
                                                         (tax filings) fees

08/27/18     105      Lain, Faulkner & Co. P.C.          Per Order 08/10/18 #119Trustee accountant          3420-000                                     140.92      1,336,709.29
                                                         (tax filings) expenses

08/27/18     106      PASSMAN & JONES, P.C.              Per Order 08/10/18 #117Trustee special             3210-600                              497,250.00           839,459.29
                                                         counsel fees

08/27/18     107      PASSMAN & JONES, P.C.              Per Order 08/10/18 #117Trustee special             3220-610                                6,384.15           833,075.14
                                                         counsel expenses

08/27/18     108      LITZLER, SEGNER, SHAW &            Per Order 08/10/18 #118Trustee special             3410-580                               28,467.56           804,607.58
                      MCKENNEY, LLP                      accountants fees

09/04/18              Bank and Technology Fees           Bank Service Fee                                   2600-000                                1,162.71           803,444.87

10/03/18              Bank and Technology Fees           Bank Service Fee                                   2600-000                                1,122.78           802,322.09

12/23/18     109      WELLS FARGO CAPITAL                PER ORDER 12/11/18 #155ORDER                       2410-000                                1,300.00           801,022.09
                      FINANCE                            LITIGATION EXP/DOCUMENT PRODUCTION

07/18/19     110      GEORGE ADAMS AND CO.               Inv. date 07/16/19 #4567Policy                     2300-000                                1,215.00           799,807.09
                      INSURANCE AGENCY, LLC              #SSN4010004Bond renewal $810k 08/13/19
                                                         annual
                                 Case 15-41922         Doc 31  Filed 06/09/21 Entered 06/09/21 07:39:08                                Desc Main
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                                                      Cash Receipts and Disbursements Record
Case Number:          15-41922 BR                                                                Trustee:                Michelle H. Chow
Case Name:            BEAR RIVER INTERNATIONAL, LLC                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******4578 - Checking Account
Taxpayer ID#:         **-***3668                                                                 Blanket Bond:           N/A
Period Ending:        05/14/21                                                                   Separate Bond:          810,000.00

   1             2                     3                                        4                                                  5                  6                  7

 Trans.    Check or                                                                                          Uniform            Receipts       Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code             $                 $            Account Balance

06/08/20              Signature Bank                     Transfer to account ending 1577                    9999-000                                799,807.09                 0.00


                                                                               ACCOUNT TOTALS                                   1,392,222.41       1,392,222.41               $0.00
                                                                                  Less: Bank Transfers                            149,097.41         799,807.09

                                                                               Subtotal                                         1,243,125.00        592,415.32
                                                                                  Less: Payment to Debtors                                                0.00

                                                                               NET Receipts / Disbursements                    $1,243,125.00       $592,415.32
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                                                      Cash Receipts and Disbursements Record
Case Number:          15-41922 BR                                                                Trustee:                Michelle H. Chow
Case Name:            BEAR RIVER INTERNATIONAL, LLC                                              Bank Name:              Signature Bank
                                                                                                 Account:                ******1577 - Checking Account
Taxpayer ID#:         **-***3668                                                                 Blanket Bond:           N/A
Period Ending:        05/14/21                                                                   Separate Bond:          810,000.00

   1             2                    3                                         4                                                 5                 6                    7

 Trans.    Check or                                                                                          Uniform           Receipts      Disbursements           Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                $              Account Balance

06/08/20              Texas Capital Bank                 Transfer from account ending 4578                  9999-000            799,807.09                             799,807.09

07/21/20     1001     GEORGE ADAMS AND CO.               Bond renewal #567 07/21/20                         2300-000                                1,215.00           798,592.09
                      INSURANCE AGENCY, LLC              BOnd SSN4010004 8/13/20-8/13/21
                                                         $810,000 coverage

09/23/20     1002     Mark Agee                          Per order 09/23/2020 #169                          3110-000                               11,208.36           787,383.73
                                                         Trustee attorney final fees and expenses

09/23/20     1003     Mark Agee                          Per order 09/23/2020 #169                          3120-000                                     313.45        787,070.28
                                                         Trustee attorney final fees and expenses

09/23/20     1004     Lain, Faulkner & Co. P.C.          Per order 09/23/2020 #168                          3410-000                                3,248.00           783,822.28
                                                         Trustee accountant final fees and expenses

09/23/20     1005     Lain, Faulkner & Co. P.C.          Per order 09/23/2020 #168                          3420-000                                      84.00        783,738.28
                                                         Trustee accountant final fees and expenses

01/04/21     1006     Michelle H. Chow                   Dividend of 100.000000000%.                        2100-000                               65,049.75           718,688.53

01/04/21     1007     Michelle H. Chow                   Dividend of 100.000000000%.                        2200-000                                     357.38        718,331.15

01/04/21     1008     Arkansas Dept of Finance           Dividend of 100.000000000%, Claim No.4A.           5800-000                                4,524.85           713,806.30
                                                         Per POC: 'Priority portion of claim'
                                                         $4,524.85 of total $18,475.33

01/04/21     1009     Texas Comptroller of Public        Dividend of 100.000000000%, Claim No.12A.          5800-000                                5,442.86           708,363.44
                      Accounts                           Priority portion of claim.
                                                         $5,442.86 of $5,927.28 total claim.
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                                                      Cash Receipts and Disbursements Record
Case Number:          15-41922 BR                                                                Trustee:                Michelle H. Chow
Case Name:            BEAR RIVER INTERNATIONAL, LLC                                              Bank Name:              Signature Bank
                                                                                                 Account:                ******1577 - Checking Account
Taxpayer ID#:         **-***3668                                                                 Blanket Bond:           N/A
Period Ending:        05/14/21                                                                   Separate Bond:          810,000.00

   1             2                    3                                         4                                                 5                 6                    7

 Trans.    Check or                                                                                          Uniform           Receipts      Disbursements           Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                $              Account Balance

01/04/21     1010     China Golden Zhejiang Royal        Dividend of 76.417570001%, Claim No.1. Filed       7100-004                              263,677.59           444,685.85
                                                         with letter to Judge
                                                         Unsecured trade vendor; Stopped on
                                                         03/10/2021

01/04/21     1011     Walmart Stores Inc.                Dividend of 76.417570001%, Claim No.3. Filed       7100-000                               19,202.33           425,483.52
                                                         as unsecured by Chuck Hendricks.
                                                         POC: 'Supplier agreement'

01/04/21     1012     Arkansas Dept of Finance           Dividend of 76.417570001%, Claim No.4B. Per        7100-000                               10,660.62           414,822.90
                                                         POC: Unsecured portion itemized in
                                                         attachments.
                                                         $13,950.48 of total $18,475.33

01/04/21     1013     Uline Shipping Supplies            Dividend of 76.417570001%, Claim No.5. Per         7100-004                                     159.35        414,663.55
                                                         POC: 'Goods sold'; Stopped on 03/04/2021

01/04/21     1014     Fedex Techconnect Inc.             Dividend of 76.417570001%, Claim No.6. Per         7100-000                                5,932.19           408,731.36
                                                         POC: 'Services'

01/04/21     1015     Up to Par Technology               Dividend of 76.417570001%, Claim No.7. Per         7100-000                               11,653.64           397,077.72
                                                         POC: network service
                                                         Filed as unsecured

01/04/21     1016     Shanghai Glyn Inc.                 Dividend of 76.417570001%, Claim No.10.            7100-000                               73,221.48           323,856.24
                                                         Coded as unsecured by Court
                                                         Listed on Schedule F as unsecured
                                                         International claimant

01/04/21     1017     Texas Comptroller of Public        Dividend of 76.417570001%, Claim No.12B.           5800-000                                     370.18        323,486.06
                      Accounts                           Unsecured portion of franchise tax claim.
                                                         $484.42 of $5,927.28 total claim.
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                                                      Cash Receipts and Disbursements Record
Case Number:          15-41922 BR                                                                Trustee:                Michelle H. Chow
Case Name:            BEAR RIVER INTERNATIONAL, LLC                                              Bank Name:              Signature Bank
                                                                                                 Account:                ******1577 - Checking Account
Taxpayer ID#:         **-***3668                                                                 Blanket Bond:           N/A
Period Ending:        05/14/21                                                                   Separate Bond:          810,000.00

   1             2                    3                                         4                                                 5                 6                    7

 Trans.    Check or                                                                                          Uniform           Receipts      Disbursements           Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                $              Account Balance

01/04/21     1018     Kien Well Toy Industrial Co LTD    Dividend of 76.417570001%, Claim No.13. Per        7100-004                              323,486.06                   0.00
                                                         POC: 'Goods sold'
                                                         Filed as unsecured.; Stopped on 03/04/2021

03/04/21     1013     Uline Shipping Supplies            Dividend of 76.417570001%, Claim No.5. Per         7100-004                                    -159.35              159.35
                                                         POC: 'Goods sold'; Stopped: Check issued on
                                                         01/04/2021

03/04/21     1018     Kien Well Toy Industrial Co LTD    Dividend of 76.417570001%, Claim No.13. Per        7100-004                              -323,486.06          323,645.41
                                                         POC: 'Goods sold'
                                                         Filed as unsecured.; Stopped: Check issued
                                                         on 01/04/2021

03/05/21     1019     Uline Shipping Supplies            Replaces TFR check #1013                           7100-000                                     159.35        323,486.06

03/09/21     1020     Kien Well Toy Industrial Co LTD    Replaces TFR check #1018 - lost check              7100-000                              323,486.06                   0.00

03/10/21     1010     China Golden Zhejiang Royal        Dividend of 76.417570001%, Claim No.1. Filed       7100-004                              -263,677.59          263,677.59
                                                         with letter to Judge
                                                         Unsecured trade vendor; Stopped: Check
                                                         issued on 01/04/2021

03/12/21     1021     China Golden International Co.,    Replaces check #1010 per Creditor request          7100-004                              263,677.59                   0.00
                      Ltd.                               and per original POC #1 beneficiary name not
                                                         coded properly on original check #1010. ;
                                                         Stopped on 04/08/2021

04/08/21     1021     China Golden International Co.,    Replaces check #1010 per Creditor request          7100-004                              -263,677.59          263,677.59
                      Ltd.                               and per original POC #1 beneficiary name not
                                                         coded properly on original check #1010. ;
                                                         Stopped: Check issued on 03/12/2021
                                 Case 15-41922         Doc 31  Filed 06/09/21 Entered 06/09/21 07:39:08                                Desc Main
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                                                      Cash Receipts and Disbursements Record
Case Number:          15-41922 BR                                                                Trustee:                Michelle H. Chow
Case Name:            BEAR RIVER INTERNATIONAL, LLC                                              Bank Name:              Signature Bank
                                                                                                 Account:                ******1577 - Checking Account
Taxpayer ID#:         **-***3668                                                                 Blanket Bond:           N/A
Period Ending:        05/14/21                                                                   Separate Bond:          810,000.00

   1             2                    3                                         4                                                  5                    6                 7

 Trans.    Check or                                                                                          Uniform            Receipts          Disbursements       Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code             $                    $          Account Balance

04/08/21              China Golden Zhejiang Royal        Replaces checks 1010 and 1021 for payment          7100-000                                  263,677.59                0.00
                                                         to China Golden


                                                                               ACCOUNT TOTALS                                    799,807.09           799,807.09               $0.00
                                                                                  Less: Bank Transfers                           799,807.09                 0.00

                                                                               Subtotal                                                    0.00       799,807.09
                                                                                  Less: Payment to Debtors                                                  0.00

                                                                               NET Receipts / Disbursements                             $0.00        $799,807.09


                                                                                                                                     Net               Net               Account
                                                                                    TOTAL - ALL ACCOUNTS                           Receipts       Disbursements          Balances
                                                                                    Checking # ******1498                        150,200.08             1,102.67                0.00
                                                                                    Checking # ******1577                                  0.00       799,807.09                0.00
                                                                                    Checking # ******4578                       1,243,125.00          592,415.32                0.00
                                                                                                                               $1,393,325.08       $1,393,325.08               $0.00
